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 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S CR 07-515-WBS
12                Plaintiff,          )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   RESCHEDULING STATUS CONFERENCE,
                                      )   AND EXCLUDING TIME UNDER THE
14                                    )   SPEEDY TRIAL ACT
          v.                          )
15                                    )
     JUAN VILLA, JR.,                 )
16   MARICELLA VILLA, and             )
     ALEX HERNANDEZ,                  )
17                                    )
                                      )
18                Defendants.         )
                                      )
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          On February 11, 2010, the court issued a Minute Order
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     continuing the status conference in this case from February 16,
21
     2010, to March 1, 2010.    The parties stipulate that the time
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     beginning February 16, 2010, and extending through March 1, 2010,
23
     should be excluded from the calculation of time under the Speedy
24
     Trial Act.    The parties submit that the ends of justice are
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     served by the Court excluding such time, so that counsel for each
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     defendant may have reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.
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 1   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
 2        The parties need additional time for preparation.         Moreover,
 3   James Greiner began representing Juan Villa, Jr. on August 28,
 4   2009, and is still in the process of reviewing the discovery in
 5   this case.    Therefore, the parties have agreed and respectfully
 6   request that the Court reschedule the status conference for March
 7   1, 2010, at 8:30 a.m.   Accordingly, the parties stipulate that
 8   time be excluded pursuant to 18 U.S.C. § 3161(h)(7)(iv), Local
 9   Code T4.
10   IT IS SO STIPULATED.
11                                          BENJAMIN B. WAGNER
                                            United States Attorney
12
13
     DATED: February 24, 2010         By:   /s/ Michael M. Beckwith
14                                          MICHAEL M. BECKWITH
                                            Assistant U.S. Attorney
15                                          Attorney for Plaintiff
16   DATED: February 24, 2010         By:   /s/ David J. Cohen
                                            DAVID J. COHEN
17                                          Attorney for Defendant
                                            ALEX HERNANDEZ
18
     DATED: February 24, 2010         By:   /s/ Kresta Daly
19                                          KRESTA DALY
                                            Attorney for Defendant
20                                          MARICELLA VILLA
21   DATED: February 24, 2010         By:   /s/ James Greiner
                                            JAMES GREINER
22                                          Attorney for Defendant
                                            JUAN VILLA, Jr.
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 1
                                      ORDER
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          For the reasons stated above, the status conference in case
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     number CR. S-07-0515 WBS, currently set for February 16, 2010, is
 4
     continued to March 1, 2010; and the time beginning February 16,
 5
     2010, and extending through March 1, 2010, is excluded from the
 6
     calculation of time under the Speedy Trial Act for effective
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     defense preparation.   The Court finds that interests of justice
 8
     served by granting this continuance outweigh the best interests
 9
     of the public and the defendants in a speedy trial.        18 U.S.C. §
10
     3161(h)(7)(A) and (B)(iv).
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12
     IT IS SO ORDERED.
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     Dated:   February 24, 2010
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